Case 2:Ol-cV-02647-.]DB-STA Document 124 Filed 08/09/05 Page 1 of 2 Page|D 200

 
  

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WESTERN DISTRICT OF TENNESSEES AUG -9 AH 6= 58

 

 

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CLARENCE NEVILLES, JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
LOUIS MITCHELL, CASE NO: 2:01-2647-B
Defendant.

 

I)ECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND AD.IUDGED that in accordance with the Order entered on May 9,
2005, this cause is hereby dismissed With prejudice.

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. DA IEL BREEN
NI D STATES DISTRICT COURT

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Date Clerk of Court

(By) Deputy Cleri:

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Honorable J. Breen
US DISTRICT COURT

